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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK



DREW DIXON,

                   Plaintiff,                         Case No. 1:23-cv-09878-VEC

                                                      NOTICE OF MOTION AND MOTION OF
v.                                                    ATTORNEYS SHAWN HOLLEY,
                                                      GREGORY KORN, SUANN MACISAAC,
ANTONIO MARQUIS “L.A.” REID,                          AND KATE MANGELS TO WITHDRAW
                                                      AS COUNSEL FOR DEFENDANT
                   Defendant.                         ANTONIO MARQUIS “L.A.” REID

                                                  /




         PLEASE TAKE NOTICE that attorneys Shawn Holley, Esq., Gregory Korn, Esq.,

Suann MacIsaac, Esq., and Kate Mangels, Esq., of the firm Kinsella Holley Iser Kump Steinsapir

LLP (individually and collectively, “Defendant’s Counsel”), hereby move the Court, the

Honorable Jeannette A. Vargas presiding, located at Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, NY 10007, for an Order granting this Motion by

Defendant’s Counsel to withdraw as counsel of record for Defendant Antonio Marquis “L.A.”

Reid; and

         PLEASE TAKE FURTHER NOTICE that the supporting Declarations of Shawn

Holley, Gregory Korn, Suann MacIsaac, and Kate Mangels, and a proposed Order granting the

relief requested, are being submitted herewith.




30021-00002/906264.1
           NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT
         Case 1:23-cv-09878-JAV   Document 132        Filed 06/09/25    Page 2 of 2




DATED: June 9, 2025                 KINSELLA HOLLEY ISER KUMP
                                    STEINSAPIR LLP




                                    By:
                                          Shawn Holley
                                          Attorneys for Defendant Antonio Marquis “L.A.”
                                          Reid

                                          KINSELLA HOLLEY ISER KUMP STEINSAPIR LLP
                                          Shawn Holley (pro hac vice)
                                          Gregory Korn (pro hac vice)
                                          Suann C. MacIsaac (pro hac vice)
                                          Kate Mangels (pro hac vice)
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                                          Los Angeles, CA 90025
                                          310-566-9822




30021-00002/906264.1                        2
     NOTICE OF MOTION TO WITHDRAW SHAWN HOLLEY, ESQ. AS COUNSEL FOR DEFENDANT
                                ANTONIO “L.A.” REID
